Case 4:09-cr-00043-SPF Document
                   Supreme      306-1 Filed
                             Court    of thein USDC ND/OK
                                                United    on 02/08/10 Page 1 of 1
                                                        States
                            Office of the Clerk
                        Washington, DC 20543-0001
                                                                William K. Suter
                                                                Clerk of the Court
                                                                (202) 478·3011
                                   January 25,2010


 Mr. Lindsey K. Springer
 5147 South Harvard
 No. 116
 Tulsa, OK 74135


       Re: In Re Lindsey Kent Springer, Petitioner
           No. 09-8701


 Dear Mr. Springer:

       The petition for a writ of mandamus in the above entitled case was filed on
 January 21,2010 and placed on the docket January 25,2010 as No. 09-8701.

       A form is enclosed for notifying opposing counsel that the case was docketed.



                                       Sincerely,

                                       William K. Suter, C

                                       by




 Enclosures
